
Turley, J.
delivered the opinion of the court.
By long usage in chancery in accounting, sums under forty shillings may be substantiated by the oath of the accounting party. 1 Ver. 176; 1 Moll. 20; 2 Chan. Ca. 249. In Remsen vs. Remsen, 2 John. Ch. Rep. 501, Chancellor Kent says: “ It is understood to be the settled course of the court, that upon the defendant accounting before the master, he is to be allowed, on his own oath being credible and uncontradicted, sums not exceeding forty shillings, but then he must mention to whom paid, for what, and when; and he must swear positively to the fact and not to his belief only, and the whole of the items so established must not exceed one hundred *785pounds, but defendant cannot, by way of charge, charge another person in this way. Forty shillings was the sum established in the early history of this court, and perhaps twenty dollars would not now be deemed an unreasonable substitute.”
We, concur in the suggestion of the Chancellor, and as a rule of practice for the chancery courts in this State in taking- accounts permit an accounting party to be allowed before the master to substantiate sums not exceeding twenty dollars each, and in the aggregate five hundred dollars by his own oath, subject to the restrictions above set forth in the case of Remsen vs. Remsen.
